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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

  YUANXIAO FENG, et al.,                  )
                                          )
        Plaintiffs,                       )
                                          )
        v.                                ) Case No. 19-cv-24138
                                          )
  JOSEPH WALSH, et al.,                   )
                                          )
        Defendants.                       )

        PNC BANK, N.A.’S AND RUBEN RAMIREZ’S MOTION TO DISMISS THE
                            AMENDED COMPLAINT




                                                 Peter D. Hardy
                                                  HardyP@ballardspahr.com
                                                  (admitted pro hac vice)
                                                 Aliza Karetnick
                                                  KaretnickA@ballardspahr.com
                                                   (admitted pro hac vice)
                                                 Ballard Spahr LLP
                                                 1735 Market Street, 51st Floor
                                                 Philadelphia, PA 19103
                                                 Telephone: (215) 864-8838

                                                 Nina Stillman Mandel
                                                   nsm@mandel.law
                                                   Fla. Bar No. 843016
                                                 MANDEL & MANDEL LLP
                                                 169 East Flagler Street, Suite 1224
                                                 Miami, Florida 33131
                                                 Telephone: (305) 374-7771


                                                 Counsel for PNC Bank, N.A. and
                                                 Ruben Ramirez
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          Defendants PNC Bank, N.A. (“PNC”) and Ruben Ramirez (“Ramirez”), through

  undersigned counsel, and pursuant to Federal Rule of Civil Procedure 12(b)(6) and Southern

  District of Florida Local Rule 7.1, hereby move to dismiss with prejudice the Amended Complaint

  filed by Plaintiffs. 1

  I.      INTRODUCTION

          On October 8, 2019, Plaintiffs filed the instant action against PNC and Ramirez baldly

  declaring three common law claims against PNC and Ramirez for supposedly aiding and abetting

  the tortious acts of other defendants named in the Complaint (hereinafter the “Walsh

  Defendants.”). 2    On December 2, 2019, Plaintiffs filed an Amended Complaint.          Plaintiffs

  specifically contend that PNC and Ramirez knowingly facilitated and assisted the Walsh

  Defendants’ conversion, fraud in the inducement, and breaches of their fiduciary duty, resulting in

  significant pecuniary losses to Plaintiffs. See id. ¶¶ 309-30, 367-88, 432-55. Plaintiffs further

  assert that PNC and Ramirez violated Florida’s Civil RICO statute, the federal RICO statute, and

  engaged in civil conspiracy. See id. ¶¶ 470-78, 491-98, 577-88.

          Generously read in a light most favorable to them, Plaintiffs’ claims against PNC and

  Ramirez are incurably flawed. The massive Amended Complaint is an unwieldy, meandering and



  1
        Plaintiffs are Yuanxiao Feng, Kiu Chub Saxon Hui, Lai King Hui, Jing Kuang, Chuen Ping
  Ng, Minyang Tian, Hongsen Zhang, and Yan Zhang (collectively, “Plaintiffs”).
  2
         Other than PNC and Ramirez, Plaintiffs have sued the following defendants: Joseph Walsh,
  Joseph, Jr., Anthony Reitz, Leslie Robert Evans, Greystone EB-5 LLLP, South Atlantic Regional
  Center, LLLC, USREDA, LLC, USREDA Holdings LLC, USREDA Management, LLC, JJW
  Consultancy, LTD., Daniel Vosotas, James Vosotas, Greystone Hotel Miami LLC, United EB5,
  LLC, Santa Barbara 230 LLC, Greystone Terra Firma, LLC, VOS Holdings I, LLC, VOS CRE I,
  LLC, Greystone Hospitality, LLC, Greystone Holdco LLC, Greystone Managing Member, LLC,
  Greystone Master Tenant, LLC, Greystone Tenant, LLC, Greystone Option Holder, LLC, WWB
  Trust LLC, Trans Inns Associates Inc., Evans Carrol & Associates Inc., VOS Hospitality, LLC,
  BBM 3, LLC, BBM 3 II, LLC, and Brandon Muhl.
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  convoluted tale of fraud involving a host of shell companies and multiple individuals. PNC and

  Ramirez are peripheral actors, and the allegations relating to them fail to state a claim. Indeed, the

  Amended Complaint lays bare Plaintiffs’ clear misapprehension of applicable law. It repeatedly

  invokes the trope that PNC and Ramirez “knew or should have known” about the Walsh

  Defendants’ alleged fraud scheme but is devoid of any allegation that PNC or Ramirez possessed

  actual knowledge of the purported scheme and substantially assisted that scheme, as the law

  demands. Plaintiffs’ RICO claims are similarly doomed. Plaintiffs do not argue that they suffered

  a domestic injury, and do not allege a scheme constituting an “enterprise” in which PNC or

  Ramirez knowingly participated.       PNC and Ramirez now move to dismiss with prejudice

  Plaintiffs’ woefully insufficient claims at Counts IIX, IX, XVI, XVII, XXII, XXIII, XXVI, XXIX,

  and XXXXI of the Amended Complaint.

  II.    STATEMENT OF FACTS

         Plaintiffs, foreign nationals seeking permanent residence in the United States through the

  federally-sanctioned Immigrant Investor Program (“EB-5 Program”), sometimes known as the

  “Golden Visa,” claim to have been defrauded. Am. Compl. ¶¶ 1-3, 9. Purportedly under the false

  pretense that their “investment” was a lawful path to reside in this country, Plaintiffs invested

  millions of dollars in a government-approved EB-5 Program administered and controlled by

  defendant Joseph Walsh. Id. ¶¶ 6-9. Walsh, however, appears to have absconded with Plaintiffs’

  investment – the funds are not “accounted for” – and Plaintiffs’ EB-5 Program applications

  eventually were uniformly denied by the government. Id. ¶¶ 8, 21, 161-68. Now, Plaintiffs’ seek

  misdirected remuneration for their investment from defendants PNC – a deep pocket – and its

  retired employee, Ramirez.




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          Despite containing 124 pages and 588 paragraphs of allegations, Plaintiffs’ repetitive

   Amended Complaint articulates only a handful of threadbare and conclusory assertions pertaining

   to defendants PNC or Ramirez:

          •       Walsh, through his entity defendant Greystone EB-5 LLLP (“Greystone EB-5”),
                  offered and sold limited partnership units to foreign investors seeking to participate
                  in an approved EB-5 Program. Id. ¶¶ 6-7.

          •       Walsh falsely represented to investors, without the involvement of Ramirez or
                  anyone else at PNC, that Greystone EB-5 would develop, renovate and operate two
                  adjacent properties in Miami Beach, Florida (the “Property”). Id. ¶¶ 117-21.

          •       Each partnership unit required an investment of $500,000 and an additional $60,000
                  in administrative and legal fees, which were collectively authorized to renovate the
                  Property. Id. ¶ 94. Walsh further represented and purportedly guaranteed that
                  Plaintiffs’ funds would be used in compliance with EB-5 Program regulations by,
                  among other things, creating ten qualifying jobs per investor. Id. ¶¶ 31, 99.

          •       To enable his scheme, Walsh owned and operated several other entities related to
                  the Greystone EB-5, such as defendants South Atlantic Regional Center, LLC and
                  WWB Trust. Id. ¶¶ 24-25, 32-36.

          •       Although Walsh told Plaintiffs that the funds would be held in an escrow account
                  and then loaned to the Greystone EB-5, the investment money was placed in a PNC
                  business checking account (the “Account”). Id. ¶ 386.

          •       The Account was accompanied by PNC’s escrow service module, typical of an
                  escrow account. Id. ¶ 142. According to Plaintiffs, this was made possible by
                  defendant Ramirez, then a Vice-President at PNC’s Boynton Beach, Florida
                  location, and PNC Treasury Department employee, Daniel Ossaba, 3 who were told
                  that the Walsh Defendants needed access to the Account. Id. at 139, 142. 4



   3
          The Amended Complaint consistently misspells Mr. Ossaba’s name as “Osaba.” This
   pleading will employ the correct spelling of his name.
   4
          The Amended Complaint is conspicuously silent as to when the Account was opened,
   although it acknowledges that the Account was opened before any Greystone Hotel investors wired
   money, id. ¶ 149, which did not occur until 2014 to 2017. Id. ¶¶ 6, 94. Despite the Amended
   Complaint’s careful efforts to gloss over the time elapsed between when the Account was opened
   and when Plaintiffs invested in the Greystone Hotel, Plaintiffs concede that there was a significant
   temporal gap, which undercuts any contention that Ramirez or anyone else at PNC was knowingly
   attempting to assist a fraud scheme.



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          •      Anthony Reitz, Chief Financial Officer for certain Walsh Entities, was the only
                 point of contact for Ramirez, Ossaba and PNC. He allegedly stated to Ramirez and
                 Ossaba that Plaintiffs’ funds: (1) were EB-5-related; (2) would amount to tens of
                 millions of dollars; (3) would be controlled by Walsh; and (4) were subject to an
                 escrow agreement. Reitz stated that Walsh had an escrow account with SunTrust
                 Bank, which was too restrictive. Id. ¶ 137. Neither Ramirez nor anyone else at
                 PNC saw the alleged escrow agreement.

          •      The fraudulent agreement enabling Walsh to steal Plaintiffs’ funds through a
                 troubled real estate deal was consummated when Ramirez purportedly told Reitz
                 “if you need functionality of an escrow account, we can provide the escrow service
                 modules with this type of business checking account.” Id. ¶ 140.

          •      Although the Amended Complaint asserts that “Ramirez and PNC knew, or should
                 have known, they were assisting Walsh and Walsh Entities in creating a fake
                 escrow account,” id. ¶ 143, Plaintiffs do not allege that Ramirez or PNC knew they
                 were planning to steal Plaintiffs’ investments.

          •      The agreement with Walsh violated PNC’s internal rules and policies. Id. ¶ 144.

          •      At Reitz’s request, PNC named the Account the “South Atlantic Regional Center
                 LLC – Greystone EB-5, LLP Escrow Account,” and eventually re-named it “South
                 Atlantic Regional Center LLC – Escrow Account.” Plaintiffs contend that the
                 Account was the “conduit that fed [Walsh’s] fraud machine.” Id. ¶¶ 147-48, 154.

          •      Millions of dollars in investment funds were deposited into the Account, financially
                 benefiting both Ramirez and PNC. Id. ¶¶ 145-46.

          •      After deposit, Plaintiffs’ funds were transferred to another account of an entity
                 controlled by Walsh, rather than used for the Greystone Hotel project. Id. ¶¶ 14,
                 325, 383. 5 Noticeably, the Amended Complaint does not allege that Plaintiffs’
                 funds were used to pay for improper expenditures in a way either known or
                 recognizable to PNC. Rather, the Amended Complaint merely suggests that
                 investor funds left the Account, which says nothing about PNC’s knowledge of
                 downstream use. Nor does the Amended Complaint even allege with particularity
                 how any funds at issue actually were spent.



   5
           Confusingly, the Amended Complaint mentions for the first time in paragraph 145 – and
   without any detail – a “Clearing Account.” Am. Compl. ¶ 159. Specifically, it asserts that PNC
   and Ramirez did not prevent the Walsh Defendants “from moving money stolen from the Fake
   Escrow Account into the Clearing Account.” Id. But Plaintiffs fail to explain, for example,
   whether the “Clearing Account” was even held at PNC, or what entity held the Clearing Account.
   This claim also contradicts other vague claims in the Amended Complaint that money went
   directly to personal accounts.



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          •       Although PNC and Ramirez knew the Account would be accepting EB-5 Program
                  investor money, they did not take any affirmative action to warn Plaintiffs or stop
                  the Walsh Defendants from transferring money from the Account. Id. ¶¶ 159, 328.

          Notably, the Amended Complaint is devoid of fundamental and critical facts. First, there

   is no plausible allegation that Ramirez, Ossaba or anyone else at PNC intended to facilitate Walsh’s

   alleged misconduct. Second, Plaintiffs do not assert with any factual specificity that Ramirez,

   Ossaba, or anyone else at PNC actually knew that Walsh and the Walsh Entities intended to

   misappropriate investor funds for themselves or other improper purposes, rather than make

   transfers in furtherance of the Greystone project. Third, Plaintiffs conspicuously neglect to allege

   that Ramirez, Ossaba or anyone else at PNC agreed to combine with, or assist, Walsh and the

   Walsh Entities in their misconduct over time. Fourth, the Amended Complaint does not contain a

   single allegation suggesting how Ramirez, Ossaba or anyone else at PNC could have known, from

   the Account activity itself, that Walsh was engaged in nefarious activity. Indeed, the Amended

   Complaint does not allege that Ramirez or Ossaba were actively monitoring the Account activity,

   or that they had any involvement in anything after the Account was opened.

          Fifth, there is no claim that Ramirez, Ossaba or anyone else at PNC knew what Walsh and

   the Walsh Entities actually communicated to Plaintiffs to persuade them to invest in the Greystone

   Hotel project. The Amended Complaint does not allege, nor could it, that Ramirez or anyone else

   at PNC was involved in meetings with investors; communications with investors; any false

   statements made to investors; the offering materials provided for the hotel project; or any of the

   advertising materials for the project. Id. ¶¶ 117-28. Sixth, there is no suggestion that Ramirez,

   Ossaba or anyone else at PNC reviewed or otherwise knew the substance of Plaintiffs’ agreements

   with Walsh and the Walsh Entities, including any loan agreements or purported escrow




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   agreements. 6 Seventh, there is not a single allegation that Ramirez, Ossaba or anyone else at PNC

   met or had contact with any Plaintiff before, or even after, they transferred their investment funds.

   Eighth, there is no allegation that Ramirez, Ossaba or anyone else at PNC made a

   misrepresentation to any Plaintiff or other investor. Ninth, there is no allegation that Ramirez,

   Ossaba or anyone else at PNC received an improper payment from the Walsh Defendants, or

   otherwise had some sort of improper relationship with any of the defendants beyond a traditional,

   professional banking relationship. Finally, Plaintiffs do not contend that they shared a contractual

   relationship with PNC.

          On the basis of these naked allegations and omissions, Plaintiffs attempt to assert multiple

   claims against PNC and Ramirez. Specifically, they allege: Aiding and Abetting Conversion

   (Counts 8 and 9); Aiding and Abetting Fraud in the Inducement (Counts 16 and 17); Aiding and

   Abetting Breach of Fiduciary Duty (Counts 22 and 23); Florida Civil RICO violations (Count 26);

   Civil Conspiracy (Count 29), and Federal RICO violations (Count 41). PNC and Ramirez now

   move to dismiss these claims.

   III.   ARGUMENT

          A.      Applicable Legal Standard

          Pursuant to Federal Rules of Civil Procedure 8(a) and 12(b)(6), a claim must be dismissed

   if the plaintiff fails to allege facts supporting its essential elements or otherwise fails to state a



   6
           The Amended Complaint repeatedly uses the phrase “fake escrow account.” But Plaintiffs
   do not and cannot allege that PNC served as escrow agent in regards to the Greystone Hotel project.
   To the contrary, a review of Exhibit 11 to Plaintiffs’ Complaint – the purported “Escrow
   Agreement,” Am. Compl. ¶ 127(c) – references PNC, but makes clear that the bank is not party to
   the agreement. The only signatories are Greystone EB-5 LLLP (with Walsh as signatory) and
   WWB Trust, LLC (with Reitz as signatory), which supposedly served as the escrow agent. Id. ¶
   102. On its face, therefore, the Complaint admits that PNC was not involved in any escrow
   agreement, and the talismanic invocation of “fake escrow account” does not make it so.



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   facially plausible claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 662 (2009); Bell Atl. Corp. v.

   Twombly, 550 U.S. 544, 555-56 (2007). “‘A claim has facial plausibility when the plaintiff pleads

   factual content that allows the court to draw the reasonable inference that the defendant is liable

   for the misconduct alleged.’” Lawrence v. Bank of Am., N.A., 455 F. App’x 904, 906 (11th Cir.

   2012) (quoting Iqbal, 556 U.S. at 678).

          A plaintiff cannot meet his burden by raising unreasonable inferences or averring either

   “conclusions of law or sweeping legal conclusions cast in the form of factual allegations . . . .”

   United States v. Air Fla., Inc., 534 F. Supp. 17, 20 (S.D. Fla. 1982). Indeed, the Federal Rules

   “require[] more than labels and conclusions,” and “a formulaic recitation of the elements of a cause

   of action will not do.” Twombly, 550 U.S. at 555; see also Iqbal, 556 U.S. at 678 (“Threadbare

   recitals of the elements of a cause of action, supported by mere conclusory statements, do not

   suffice.”). The Rules “demand[] more than an unadorned, the defendant-unlawfully-harmed-me

   accusation.” Iqbal, 556 U.S. at 678. None of Plaintiffs’ claims clear these basic pleading hurdles.

          For allegations of fraud or mistake, the heightened pleading requirements of Federal Rule

   of Civil Procedure 9(b) apply. Here, Rule 9(b) is applicable to Plaintiffs’ claims for aiding and

   abetting and for civil conspiracy, which are premised on fraud – that is, the misappropriation of

   EB-5 investment money through a scheme masterminded by the Walsh Defendants. Am. Compl.

   ¶¶ 309, 320, 367, 378, 434–42, 445–54; see also Vasquez v. H.K. & Shaghai Banking Corp., 18

   Civ. 1876 (PAE), 2019 U.S. Dist. LEXIS 90716, *42 (S.D. N.Y. May 29, 2019).

          “In alleging fraud . . . a party must state with particularity the circumstances constituting

   fraud[.]” Fed. R. Civ. P. 9(b). The Eleventh Circuit has held that:

                  Rule 9(b) is satisfied if the complaint sets forth “(1) precisely what
                  statements were made in what documents or oral representations or
                  what omissions were made, and (2) the time and place of each such
                  statement and the person responsible for making (or, in the case of



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                  omissions, not making) same, and (3) the content of such statements
                  and the manner in which they misled the plaintiff, and (4) what the
                  defendants obtained as a consequence of the fraud.”

   Ziemba v. Cascade Intern., Inc., 256 F.3d 1194, 1202 (11th Cir. 2001) (quoting Brooks v. Blue

   Cross and Blue Shield of Florida, Inc., 116 F.3d 1364, 1371 (11th Cir. 1997)). Rule 9(b) therefore

   requires plaintiffs to plead “the who, what, when, where, and how of the allegedly false

   statements.” Begualg Inv. Management Inc. v. Four Seasons Hotel Ltd., No. 10-22153-CIV-

   MARTINEZ-MCALILEY, 2011 U.S. Dist. LEXIS 108720, at * 2 (S.D. Fla. 2011) (quoting

   Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1237 (11th Cir. 2008)). Plaintiffs’ allegations fall

   far, far short of this heightened pleading requirement.

          Plaintiffs’ RICO claims fare no better. Their alleged injuries were sustained outside of the

   United States, and there are no allegations constituting an “enterprise,” as required by both the

   Federal and Florida RICO statutes.

          B.      Plaintiffs Fail to Plausibly Allege Claims for Aiding and Abetting Fraud,
                  Breach of Fiduciary Duty, and Conversion.

          Plaintiffs do not plausibly allege Ramirez or anyone else at PNC had actual knowledge of

   the underlying scheme carried out by the Walsh Defendants, much less that they provided

   substantial assistance to further that scheme. Indeed, Plaintiffs evince a fundamental and fatal

   misunderstanding of the actual knowledge component of these claims. The Amended Complaint

   is replete with unsupported claims that PNC and Ramirez knew or should have known about the

   alleged underlying fraud scheme. See, e.g., Am. Compl. ¶ 143 (“Ramirez and PNC knew, or

   should have known, they were assisting Walsh and Walsh Entities in creating a fake escrow

   account.”) (emphasis added); ¶ 159 (“As described above, Ramirez and PNC had speciﬁc

   knowledge that the Plaintiffs’ funds that would be deposited into the Fake Escrow Account would

   be EB-5 investments, and they knew, or should have known of the legal implications of that fact.”)



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   (emphasis added). Contrary to Plaintiffs’ attempts, “should have known” is not the legal standard.

   Actual, subjective knowledge is a mandatory requirement.

          Plaintiffs seek to circumvent actual knowledge by cobbling together the supposed mental

   states of disparate PNC employees and departments. Once again, this is not the law: actual,

   subjective knowledge requires at least one individual to possess complete “guilty” knowledge. So-

   called “collective knowledge” will not suffice.

                  1.      Legal Standard for Proving Aiding and Abetting Claims

          To state a claim for aiding and abetting under Florida law, a plaintiff must allege: (1) an

   underlying violation on the part of the primary wrongdoer; (2) actual knowledge of the underlying

   violation by the alleged aider and abettor; and (3) intentional and substantial assistance by the

   alleged aider and abettor to the primary wrongdoer in furtherance of the underlying violation. See

   Lawrence v. Bank of America, 455 F. App’x 904, 906–07 (11th Cir. 2012); Meridian Trust Co. v.

   Batista, No. 17-23051, 2018 U.S. Dist. LEXIS 166556, *3, *10 (S.D. Fla. Sept. 26, 2018); see also

   Bruhl v. PricewaterhouseCoopers Int’l, No. 03-23044, 2008 U.S. Dist. LEXIS 30962, at *13 (S.D.

   Fla. Mar. 31, 2008) (noting that aiding and abetting liability attaches “only when a defendant

   actively participates in the alleged violation”) (emphasis added).

          Because aiding and abetting is an intentional tort, Perlman v. Bank of Am., N.A., No. 11-

   80331, 2014 U.S. Dist. LEXIS 193658, at *9 n.1 (S.D. Fla. Sept. 19, 2014); Allerton v. State Dep’t

   of Ins., 635 So.2d 36, 39 (Fla. 1st DCA 1994), allegations of “substantial assistance” must show

   that the defendant actually shared the primary actors’ bad intent to commit the underlying tort. See

   Taylor v. Am. Chemistry Council, 576 F.3d 16, 35 (1st Cir. 2009); Mw. Cattle Mktg., LLC v.

   Legend Bank, N.A., No. 17-375, 2018 WL 2244339, at *6 (N.D. Tex. May 16, 2018); In re

   Managed Care Litig., 430 F. Supp. 2d 1336, 1357 (S.D. Fla. 2006).




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          “[T]he knowledge element is really the crux of aiding and abetting liability.” Perlman,

   2011 U.S. Dist. LEXIS 161084, at *16; see also Perlman v. Wells Fargo Bank, N.A., 559 F. App’x

   988, 993 (11th Cir. 2014) (per curiam); Lawrence, 455 F. App’x at 907. Establishing actual

   knowledge requires subjective knowledge by a particular defendant, and not merely that the

   defendant had a reason to know of the fraud. See Viacom Int’l, Inc. v. YouTube, Inc., 676 F.3d 19,

   31 (2d Cir. 2012) (“The phrase ‘actual knowledge,’ . . . is frequently used to denote subjective

   belief.”); Colliers Lanard & Axilbund v. Lloyds of London, 458 F.3d 231, 237 (3d Cir. 2006)

   (equating “actual knowledge” with “subjective awareness”); Graves v. Plaza Med. Ctrs., Corp.,

   No. 10-23382-CIV, 2017 U.S. Dist. LEXIS 28049, at *17 (S.D. Fla. Feb. 27, 2017).

          Importantly, when analyzing such claims against banks, Florida courts are “[m]indful of

   the potentially devastating impact aiding and abetting liability might have on commercial

   relationships.” Wiand v. Wells Fargo Bank, N.A., 938 F. Supp. 2d 1238, 1244 (M.D. Fla. 2013)

   (citations omitted); see also Eisenberg v. Wachovia Bank, N.A., 301 F.3d 220, 226 (4th Cir. 2002)

   (explaining that to extend a bank’s duty of care to non-customers would “expose banks to

   unlimited liability for unforeseeable frauds”). Courts are hesitant to impute “actual knowledge”

   to financial institutions of the alleged underlying wrongdoing and “necessarily set[] a high standard

   for liability to be found.” Gevaerts v. TD Bank, N.A., 56 F. Supp. 3d 1335, 1343 (S.D. Fla. Oct.

   31, 2014). Otherwise, significant liability could arise inequitably from sloppy and vague claims.

                  2.      Claims of Policy Violations and “Red Flags” Will Not Suffice

          Plaintiffs claim that, “on information and belief,” the “agreement” between Walsh and

   PNC and Ramirez violated the bank’s internal rules and policies. Am. Compl. at ¶ 144. Plaintiffs

   further claim at various points throughout the Amended Complaint that PNC and Ramirez knew

   or should have known that the Walsh Defendants were committing a fraud scheme against the

   Plaintiffs because, after the funds were deposited into the Account, they were transferred to other


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   accounts. When construed generously on behalf of the Plaintiffs, this claim appears to be a claim

   that PNC and Ramirez should have scrutinized the Account and realized that the Account involved

   atypical or improper financial transactions, and therefore concluded that a fraud scheme was

   occurring. Such allegations do not suffice to demonstrate actual knowledge.

          “[M]erely alleging that a bank should have known about [the underlying violation] based

   solely on a series of purportedly atypical transactions is not sufficient to survive” a motion to

   dismiss. Perlman, 559 F. App’x at 993; see also Heinert v. Bank of America, N.A., No. 19-06081,

   2019 U.S. Dist. LEXIS 180832, at *6 (W.D.N.Y. Oct. 18, 2019) (“[P]laintiffs must plausibly allege

   actual knowledge . . . constructive knowledge is not sufficient, nor is a lower standard such as

   recklessness of willful blindness.”) (citations omitted) (emphasis in original). Nor is actual

   knowledge pleaded where the plaintiff offers nothing more “than allegations that a bank had

   knowledge of suspicious activities or even ‘skullduggery[.]’” Litson-Gruenberg v. JPMorgan

   Chase & Co., No. 09-56, 2009 U.S. Dist. LEXIS 117749, at *2 (N.D. Tex. Dec. 16, 2009); see

   also Perlman, 559 F. App’x at 993-94. Alleged cause for suspicion is simply not the same as

   actual knowledge. See In re Agape Litig., 773 F. Supp. 2d 298, 310 (E.D.N.Y. 2011) (“red flags”

   that might arise from account transactions do not give rise to “actual knowledge”); Isaiah v.

   JPMorgan Chase Bank, N.A., No. 16-21771, 2017 U.S. Dist. LEXIS 190051, at *6-10 (S.D. Fla.

   Nov. 14, 2017) (granting bank’s motion to dismiss because plaintiff did not show that bank had

   actual knowledge of customer’s fraud).

          It is well-settled that, under Florida law, financial institutions are not required to investigate

   their customers’ transactions. See Lawrence, 455 F. App’x at 907; Perlman v. Wells Fargo Bank,

   559 F. App’x 988, 993 (11th Cir. 2014). Consequently, mere allegations of “red flags,” including

   the commingling of funds and large or rapid transfers, are insufficient to establish actual




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   knowledge. Daccache v. Quiros, No. 16-21575, 2018 U.S. Dist. LEXIS 82256, at *3, *40 (S.D.

   Fla. May 15, 2018) (“Red flags do not amount to actual knowledge and are insufficient to meet

   the particularity requirement of Federal Rule of Civil Procedure 9(b).”); Lamm, 749 F.3d at 950

   (“Alleging that a bank disregarded ‘red flags’ such as ‘atypical activities’ on a customer’s account

   is insufficient to establish actual knowledge.”); see also Evans v. ZB, N.A., No. 2:17-1123, 2017

   U.S. Dist. LEXIS 209632, at *1, *3 (E.D. Cal. Dec. 20, 2017) (“Because a bank does not have a

   duty to investigate or police its accounts, [the bank]’s ‘alleged knowledge of [a depositor’s]

   suspicious account activities – even money laundering – without more, does not give rise to tort

   liability for the banks.’”) (citations omitted).

           In Perlman, for example, the Eleventh Circuit dismissed aiding and abetting claims based

   on “a multitude of atypical transactions and procedural oddities.” See 559 F. App’x at 993. In

   that case, a Ponzi schemer opened four accounts at Wells Fargo for his entity, Creative Capital,

   that were classified as “investment business” and “securities/commodities” business activity. Id.

   at 990-91. Within five weeks, other individuals, including the schemer’s wife and sister, opened

   an additional 36 “feeder accounts” at Wells Fargo. Id. Large amounts of cash were then

   transferred between the “feeder” and the initial accounts. Id. In one instance, Wells Fargo placed

   a freeze on a feeder account due to detected suspicious activity. Id. Four days later, however,

   Wells Fargo lifted the freeze after receiving a business plan with obvious misinformation. Id.

   Over the next few months, over $10 million was transferred between the accounts, with substantial

   portions disbursed directly to the schemer and his wife. Id. By the time Wells Fargo closed the

   accounts, the fraudster had transferred $38 million between the various accounts, including more

   than $1 million in over-the-counter transactions. Id.




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          A court-appointed receiver filed claims against Wells Fargo for, among other things, aiding

   and abetting (1) breach of fiduciary duty, (2) conversion, and (3) fraudulent transfers. Id. at 991–

   92. The district court dismissed those claims with prejudice. Id. at 992. In affirming, the Eleventh

   Circuit explained that, “[a]t most, [the allegations] list facts that could arouse suspicions, and are

   not sufficient to trigger any obligation by Wells Fargo to investigate.” Id. at 993–94.

          Here, Plaintiffs’ allegations are far short of even those asserted in the Perlman case, which

   were recognized as legally insufficient to pass muster under Rule 12. Indeed, courts routinely

   dismiss aiding and abetting claims based on a “red flags” argument. See, e.g., Isaiah, 2017 U.S.

   Dist. LEXIS 190051, at *9–10 (dismissing aiding and abetting claim because “even if [the bank]

   detected suspicious activity on the accounts as alleged, this only demonstrates knowledge of the

   symptoms of the Ponzi scheme, not [the bank]’s actual knowledge of the scheme”); Wiand v. Wells

   Fargo Bank, N.A., 938 F. Supp. 2d 1238, 1245–46 (M.D. Fla. 2013) (dismissing such claims based

   on red flags, including atypical transfers, commingling of funds, and fraud alerts); Lawrence, 455

   F. App’x. at 906 (affirming dismissal of such claims because allegations of “numerous deposits,

   withdrawals, and wire transfers involving large amounts of money” were insufficient to establish

   knowledge); Lamm, 889 F. Supp. 2d at 947–51 (S.D. Fla. 2012) (“[A]llegations that a bank’s

   disregard of ‘obvious red flags’ such as atypical and non-routine business banking transactions

   were insufficient to establish the conscious awareness of wrongdoing necessary to maintain an

   aiding and abetting cause of action.”).

          Far from establishing actual knowledge, Plaintiffs’ allegations here do not even amount to

   “red flags.” Essentially, Plaintiffs’ aiding and abetting claims against PNC and Ramirez hinge on

   the naked allegations that: (1) both defendants “knew or should have known” that they were

   assisting the Walsh Defendants in creating a “fake” escrow account; (2) PNC changed the name




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   of the “fake escrow account” to help Walsh make it look like a “legitimate” escrow account; and

   (3) PNC had “knowledge of the EB-5 program.” Am. Compl. ¶¶ 143, 149, 312. As a threshold

   matter, none of these three allegations, even if true, establishes that Ramirez or anyone else at PNC

   had actual knowledge of the Walsh Defendants’ purportedly fraudulent scheme. Indeed, nowhere

   in the Amended Complaint do the Plaintiffs allege that PNC or Ramirez actually knew of the

   underlying wrongs at issue—i.e., that the Walsh Defendants purportedly lied to potential investors

   to induce their investors and misappropriate their investments—or that Ramirez or anyone else at

   PNC took any action to assist the alleged fraud after the Account was opened. The case law is

   unequivocal – the Amended Complaint must show actual, subjective knowledge of the alleged

   fraud scheme at issue, and not just claim that defendants should have discovered some ill-defined

   impropriety.

                  3.      Allegations of Actual Knowledge are Required

          As noted in Section II, the Amended Complaint fails to allege critical facts, including that

   Ramirez received any sort of improper payment from the Walsh Defendants, or otherwise had a

   relationship with them beyond a traditional banking relationship. To be clear, it is these sorts of

   egregious allegations – “the business banker was bribed by the bad guy” – that have allowed

   plaintiffs to survive a Rule 12 motion. Such allegations are non-existent here, for good reason.

          The Eighth Circuit’s decision in Zayed v. Associated Bank, N.A., No. 17-1250, 2019 U.S.

   App. LEXIS 854 (8th Cir. Jan. 10, 2019), underscores the high standard necessary to show that a

   bank had actual knowledge of its customer’s specific fraud. In Zayed, the Court rejected a

   Receiver’s claim that the bank actually knew about a customer’s Ponzi scheme, despite claims that

   a former bank employee: (1) advised the fraudsters to open one of the accounts under a domestic

   – as opposed to foreign – LLC and opened the account without proof of registration with the




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   Secretary of State; 7 (2) socialized with the fraudsters by drinking, discussing business, and quoting

   movie lines glorifying greed; (3) attended “pitch” meetings where the fraudsters discussed “risk-

   free” and “completely safe” investments with clients and suspect wire transfers between Swiss and

   domestic accounts; (4) improperly approved money transfers from accounts of two fraudsters into

   a third fraudster’s account, at the third fraudster’s direction; and (5) observed transactions in the

   domestic account after Swiss authorities closed the Swiss account. Id. at *8, 10-17, 24-26, 31. At

   one meeting, the fraudsters even discussed the fact that the Swiss account had a $13 million

   shortfall and needed a “friendly banker” to “make it look clean” and “get around [another bank’s]

   questioning all the wiring transfers and that bank’s growing suspicions.” Id. at *25.

          The Zayed court nonetheless held:

                    [e]ven assuming [former bank employee] Sarles knew there was
                    shortfall . . . , and that the scammers wanted to avoid disclosing that,
                    it does not follow that Sarles knew their enterprise was a Ponzi
                    scheme or that they were engaged in tortious conduct. If true, this
                    should have been a red flag, but it does not show actual knowledge.

   Id. at *15 (emphasis added). The court held that even these strong allegations evidenced, as a

   matter of law, nothing more than “‘sloppy banking’ or ‘red flags’ that, with the benefit of hindsight,

   should have prompted further investigation or inquiry.” Id. at *8, 18. Plaintiffs’ thin allegations

   here fall far short of the detailed conduct alleged in Zayed and still deemed to be insufficient as a

   matter of law.

          An analogous recent district court case similarly highlights Plaintiffs’ heavy burden. In

   Heinert, the plaintiffs alleged that Ponzi schemers had a relationship with a “dirty insider” at the

   bank, and that the insider “was a ‘key player’ in the fraudulent scheme, coordinating the opening


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          The Court held that “[c]oncluding that Sarles opened the [accounts] because he knew that
   Cook and others were engaged in a Ponzi scheme rather than simply out of an effort to please an
   important client, would require speculation and is not a reasonable inference.” Id. at *11-12.


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   of new accounts, expediting the availability of funds, lying to creditors, and placing quarterly calls

   to American Express on [the primary fraudster’s] behalf, falsely confirming that his accounts held

   sufficient funds to cover his debts, when they did not.” 2019 U.S. Dist. LEXIS 180832, at *3. The

   allegations of direct lies by a bank employee on behalf of the fraudster, made to promote the

   specific underlying fraud scheme at issue, were insufficient to establish the required actual,

   subjective knowledge of the scheme by the bank. The Court dismissed the plaintiffs’ complaint.

   Id. at *15. The Amended Complaint at issue here does not even come close to alleging the facts

   present in Heinert, which involved direct lies to investors.

          Ultimately, “[c]onclusory statement[s] that a defendant ‘actually knew’ [are] insufficient

   to support an aiding and abetting claim where the facts in the complaint only suggest[] that the

   defendant ‘should have known’ that something was amiss.” Platinum Estates, Inc. v. TD Bank,

   N.A., No. 11-60670-CIV, 2012 U.S. Dist. LEXIS 30684 (S.D. Fla. Mar. 7, 2012). In Platinum

   Estates, the court dismissed an aiding and abetting fraud claim against a bank arising from its

   alleged involvement in the Rothstein Ponzi scheme. The complaint contained allegations that the

   bank: (1) permitted hundreds of millions of dollars in Ponzi scheme funds to flow through it, in

   violation of banking regulations and internal procedures; (2) lulled scheme victims into a false

   sense of security by providing verbal and/or written assurances that settlement funds existed and

   could be disbursed only directly to the investors; and (3) allowed fraudsters to use its conference

   rooms to pitch investors and directly participated in same. Id. These claims, much stronger than

   the allegations here, nonetheless failed to surmount the actual knowledge standard.

                  4.      The Collective Knowledge Doctrine Does Not Apply

          As discussed at length, the applicable legal standard for intentional torts based on fraud is

   actual – not constructive – subjective knowledge by a particular individual. Heinert, 2019 U.S.

   Dist. LEXIS 180832, at *6.        Claims of actual, subjective knowledge of fraud cannot be


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   manufactured by artificially combining various items allegedly known to disparate persons across

   a large organization. See United States v. Sci. Applications Int’l Corp., 626 F.3d 1257, 1274 (D.C.

   Cir. 2010); Chaney v. Dreyfus Serv. Corp., 595 F.3d 219, 241 (5th Cir. 2010); United States v.

   Phillip Morris USA Inc., 566 F.3d 1095, 1122 (D.C. Cir. 2009); United States v. DynCorp Int’l,

   LLC, 253 F. Supp. 3d 89, 103 (D.D.C. 2017) (“[C]ollective knowledge provides an inappropriate

   basis for proof of scienter because it allows a plaintiff to prove scienter by piecing together scraps

   of innocent knowledge held by various corporate officials, even if those officials never had contact

   with each other or knew what others were doing in connection with a claim seeking government

   funds.”); In re Volkswagen “Clean Diesel” Mktg., Sales Prac., & Prods. Liab. Litig., No. 15-6167,

   2017 U.S. Dist. LEXIS 202487, at *684-85 (N.D. Cal. Dec. 6, 2017) (“[W]here, as in fraud, an

   essentially subjective state of mind is an element of a cause of action also involving some sort of

   conduct, such as a misrepresentation, the required state of mind must actually exist in the

   individual making (or being a cause of the making of) the misrepresentation, and may not simply

   be imputed to that individual on general principles of agency.”); Helf v. Chevron U.S.A. Inc., 361

   P.3d 63, 66 (Utah 2015) (“Collective knowledge cannot be used to establish agency liability for

   intentional torts.”). See also Restatement (Second) of Agency, § 275; Restatement (Third) of

   Agency, § 5.03.

          Plaintiffs attempt to circumvent this rule. They vaguely assert that “PNC” and Ramirez

   were familiar with the EB-5 program by pointing – with ill-defined and contradictory timeframes

   – to a single PNC article about the EB-5 program, one 2016 third-party website posting about the

   program that referenced PNC, and PNC’s financing of a single EB-5 project. See id. ¶¶ 151-53. 8



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           The Complaint also alleges that “PNC was on notice that Plaintiffs believed they were
   transferring funds to a legitimate escrow account as the Plaintiffs’ wire transfers named the
   receiving account as “EB-5 Investment Fund Escrow,” citing to Exhibit 14. Am. Compl. at ¶ 155.


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   Even if liability attached on the basis of collective knowledge – and it does not – these three

   random examples hardly establish that PNC or Ramirez collectively possessed knowledge about

   the Walsh Defendants’ purported fraud. And, this assertion falls well short of satisfying the legal

   standard – actual knowledge. The fact that certain “other” PNC employees may have been familiar

   with certain aspects of the EB-5 program cannot impute knowledge about the Walsh Defendants’

   alleged scheme to Ramirez or PNC. Perhaps most importantly, Plaintiffs’ breezy and disingenuous

   insinuations concerning the supposed knowledge by Ramirez and PNC about the “legal

   implications” of Plaintiffs’ funds involving an EB-5 investment project, is entirely specious. In

   fact, there is no legal requirement under EB-5 law and regulation that an escrow agreement be

   used. The Court need only look to Plaintiffs’ own allegations about the content of the EB-5

   program, id. at ¶¶ 63-66, which say nothing about any escrow account requirement.

          C.      Plaintiffs Do Not Plausibly Allege RICO Claims.

          Civil RICO is a claim often invoked by plaintiffs – due to its draconian sweep when the

   statute is appropriate – but frequently without success, and for good reason. Civil RICO, like

   criminal RICO, is a serious and complex claim that must be supported by clear facts. Plaintiffs’

   attempt to bring Federal and Florida RICO claims against PNC and Ramirez based on the same

   conclusory and vague allegations. Both claims must fail.

          To state a claim under the Federal RICO Act, Plaintiffs must establish: (1) conduct or

   participation in an enterprise; (2) through a pattern of racketeering activity. See 18 U.S.C.

   § 1962(c); see also Jackson v. BellSouth Telecomms., 372 F.3d 1250, 1264 (11th Cir. 2004). In

   addition, Plaintiffs must show RICO standing by alleging a domestic injury proximately caused by



   The face of Exhibit 14 makes clear that it is not an actual PNC document, reflecting the sloppiness
   of the Plaintiffs’ allegations as to the most basic facts, much less nuanced claims as to knowledge.



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   the alleged racketeering activity. See See RJR Nabisco, Inc. v. European Community, 136 S. Ct.

   2090, 2106 (2016); Absolute Activist Value Master Fund v. Devine, 233 F. Supp. 3d 1297, 1327-

   28 (M.D. Fla. 2017). Conclusory and general allegations of damages resulting from the actions of

   multiple defendants is insufficient. See Worldspan Marine Inc. v. Comerica Bank, No. 18-21924,

   2019 U.S. Dist. LEXIS 30421, *1, *18 (S.D. Fla. Feb. 22, 2019). Instead, RICO allegations must

   “clearly identify the injury suffered and the predicate acts from which the injury flowed[.]” Id.

          The Florida RICO Act mirrors the federal statute. Fla. Stat. § 895.03. Thus, Florida courts

   generally look to case law interpreting the Federal RICO statute. See Jackson, 372 F.3d at 1263

   (“We have explained that interpretation of Florida’s RICO law is informed by case law interpreting

   the federal RICO statute . . . .”). Where, as here, the federal and state RICO claims are based on

   the same allegations, “it is unnecessary to evaluate the Florida RICO count separately.” Palm

   Beach Cty. Envtl. Coalition v. Florida, 651 F. Supp. 2d 1328, 1350 (S.D. Fla. 2009); see also

   Ferrell v. Durbin, 311 F. App’x 253, 256 n. 5 (11th Cir. 2009) (“[A]nalysis of the Federal RICO

   claims is equally applicable to the Florida RICO claims.”) Here, Plaintiffs’ Federal and Florida

   RICO claims should be dismissed for the following two distinct reasons: (1) Plaintiffs allege only

   foreign injuries and lack standing to bring RICO claims; and (2) Plaintiffs fail to adequately allege

   PNC and Ramirez were part of the alleged enterprise.

                  1.      Plaintiffs Lack Standing to Bring RICO Claims

          The Federal and Florida civil RICO statutes do not apply extraterritorially, so plaintiffs

   must allege that they have suffered a domestic injury arising from the alleged predicate acts. RJR

   Nabisco, Inc., 136 S. Ct. at 2106; Devine, 233 F. Supp. 3d at 1327-28. Plaintiffs – eight foreign

   nationals – allege they lost their investment funds and the opportunity to immigrate to the United

   States, which amount to injuries suffered outside the United States.




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          In RJR Nabisco, Inc. v. European Community, the Supreme Court held that the federal

   RICO Act’s civil remedy provision “does not allow recovery for foreign injuries.” 136 S. Ct.

   2090, 2106 (2016). Thus, “[a] private RICO plaintiff [] must allege and prove a domestic injury

   to its business or property.” Id. (emphasis in original). The court in Devine, which explained that

   the civil remedy for the Federal RICO provision is “nearly identical” to the civil remedy for

   Florida’s RICO provision, explicitly imported this holding to Florida civil RICO claims. 233 F.

   Supp. 3d at 1328 (“The Court finds that Florida courts would now apply the holding of RJR

   Nabisco, Inc. to determine if a domestic injury for Florida civil RICO claims is adequately

   pleaded.”).

          To determine if an alleged injury is domestic or foreign, courts look to the “geographic

   location of the injury to plaintiffs, not the location of a defendant’s wrongful acts.” Devine, 233

   F. Supp. 3d at 1326. In Devine, Cayman Islands companies brought claims under both the federal

   and Florida RICO statutes based on alleged economic injuries suffered from a penny stock scheme.

   Id. at 1325-28. In dismissing the RICO claims for lack of standing, the court explained that the

   “economic injuries were suffered by plaintiffs in the only location where the plaintiffs were located

   – in the Cayman Islands.” Id. Similarly, the court in City of Almaty v. Ablyazov dismissed RICO

   claims because the plaintiffs were aliens who did not hold any assets, or “maintain any operations,

   instrumentalities, or other presence in the United States.” 226 F. Supp. 3d 272, 284 (S.D.N.Y.

   2016) (pointing out that plaintiffs were not “working, travelling, or doing business” in the United

   States when they incurred their alleged injuries) (citations omitted).

          Indeed, in Li v. Walsh, currently pending before the Southern District of Florida, the

   Honorable Kenneth A. Marra dismissed with prejudice RICO claims arising from essentially the

   same set of facts. No. 16-81871, 2017 U.S. Dist. LEXIS 114553, at *32 (S.D. Fla. July 22, 2017).




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   In Li, foreign nationals, the alleged victims of an EB-5 fraud scheme perpetrated by many of the

   same Walsh Defendants, alleged economic injuries from “the loss of their investments.” Compl.

   ¶ 518, ECF No. 1, No. 9:16-cv-81871-KAM (S.D. Fla. Nov. 14, 2016). They also asserted that,

   because of the fraud, they were “unable to leave their respective countries and have cost their entire

   lifesavings.” Id. ¶ 6. When dismissing the plaintiffs’ RICO claims, Judge Marra emphasized that

   the complaint contained “no allegations demonstrating that the economic impact on Plaintiffs was

   felt in the United States or that Plaintiffs were working, traveling, or doing business in the United

   States.” Li, 2017 U.S. Dist. LEXIS 114553, at *32. The Court reasoned:

                    Here, the majority of the alleged RICO conduct took place in the
                    foreign countries where Plaintiffs received the alleged false
                    information and induced to invest their money and are now unable
                    to come to the United States. Even accepting Plaintiffs’ claim that
                    the basis of the RICO claim occurred in the United States because
                    Defendants moved the money around in the United States and
                    diverted funds from the Palm House real estate project, that does not
                    change the fact that the injury was felt by Plaintiffs in their home
                    countries.

   Id. at *33–34.

          In this matter, Plaintiffs allege they were fraudulently induced to invest money in a

   purported EB-5 project in Florida run by the Walsh Defendants. They contend that, because of

   the fraud scheme, they are “unable to immigrate to the United States, in addition to losing a large

   investment.” Am. Compl. ¶ 21. As in Li, Plaintiffs do not contend that they have ever entered the

   United States. Rather, they assert that certain of the Walsh Defendants travelled to China to solicit

   Plaintiffs’ investments through the use of misleading and false advertising materials. Id. ¶¶ 117-

   21. Like Li, an alleged fraud scheme prevented the Plaintiffs here from coming to the United

   States. Id. ¶ 21. The economic impact of Plaintiffs’ supposed injury – the loss of their investments

   – would clearly be felt abroad. Accordingly, Plaintiffs lack standing to sue under the Federal and

   Florida RICO statutes, and their claims should be dismissed on this basis alone.


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                  2.      Plaintiffs Have Failed to Plausibly Allege a RICO Enterprise

          Even if Plaintiffs had standing to sue under the RICO statutes – and they do not – their

   RICO claims must fail because they have not plausibly alleged the existence of a RICO

   “enterprise” and that PNC and Ramirez knowingly participated in the enterprise. The existence of

   an enterprise under the federal and Florida RICO statutes is shown by (1) an ongoing organization,

   formal or informal, with a common purpose of engaging in a course of conduct, which (2) functions

   as a continuing unit. See Catano v. Capuano, No. 18-20223, 2019 U.S. Dist. LEXIS 114983, *1,

   *15 (S.D. Fla. Jul. 11, 2019); Gross v. State, 765 So. 2d 39, 44 (Fla. 2000). Plaintiffs must provide

   detailed pleadings about the enterprise “to push the existence of the enterprise from a possibility

   to a probability.” Patel v. Fendler, No. 15-0366, 2016 U.S. Dist. LEXIS 148282, *2, 6 (S.D. Ill.

   Oct. 26, 2016).

          To establish a common purpose under RICO, plaintiffs must allege that all of the

   participants “knowingly cooperated” 9 in a course of conduct “pursuant to a unified agenda.” Ray

   v. Spirit Airlines, Inc., 836 F.3d 1340, 1353 (11th Cir. 2016); McCaul v. First Mont. Bank, Inc.,

   No. 17-41-BU-BMM-JCL, 2018 U.S. Dist. LEXIS 224274, *1, 11 (D. Mont. Oct. 29, 2018)

   (same); see also Gross, 765 So. 2d at 46 (finding sufficient evidence of common purpose when

   defendants discussed and coordinated robberies well before their commission). Common purpose

   cannot be established by facts merely suggesting that alleged participants “conducted only their

   own ordinary business affairs and purposes.” McCaul, 2018 U.S. Dist. LEXIS 224274, at *11; see

   also Parm v. Nat’l Bank of Cal., N.A., 242 F. Supp. 3d 1321, 1347 (N.D. Ga. 2017) (“the mere

   existence of routine business relationships among the defendants is insufficient to establish an

   enterprise under RICO”).


   9
          We incorporate here all arguments regarding lack of knowledge in Section III.B supra.



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          Here, Plaintiffs generally contend that all “Defendants” – over 30 individuals and entities

   – “acted as an ‘enterprise’ . . . designed to solicit foreign investors to invest in a USCIS approved

   EB-5 program in the United States.” Am. Compl. ¶ 471. Plaintiffs seemingly allege that, at most,

   Ramirez or others at PNC somehow participated in this “enterprise” by providing banking services

   to Walsh. Id. ¶¶ 140-44. For example, Plaintiffs state that PNC and Ramirez “agreed to allow

   Walsh and SARC to open and operate a business checking account with PNC’s escrow services.”

   Id. ¶ 142. Plaintiffs also declare that Ramirez and PNC “stood to gain” from the “agreement” –

   Ramirez in the form of “salary, awards, and promotion opportunities,” and PNC in the form of

   “service fees, interest, and profits.” Id. ¶¶ 145-46. What Plaintiffs describe is simply the existence

   of a traditional banking relationship.

          These allegations do not come close to establishing that PNC, Ramirez, and the Walsh

   Defendants shared a “unified agenda” to solicit and later misappropriate EB-5 investments. The

   Amended Complaint does not contain any facts showing how each of these defendants acted in

   furtherance of an enterprise, let alone in an ongoing or continuous manner. Plaintiffs’ allegations

   against PNC and Ramirez, however creatively worded, amount to no more than assertions that

   they opened bank accounts and conducted traditional banking transactions. This hardly implicates

   them in a RICO enterprise. See Super Vision Int’l, Inc. v. Mega Int’l Commer. Bank Co., 534 F.

   Supp. 2d 1326, 1338 (S.D. Fla. Feb. 5, 2008) (“[b]ankers do not become racketeers by acting like

   bankers”) (citations omitted).

          The holding in Parm is instructive here. In that case, plaintiff-borrowers entered into

   illegal payday loans with a payday lender. 242 F. Supp. 3d at 1326-27. The lender, in turn, entered

   into contracts with the National Bank of California to gain access to the bank’s Automatic Clearing

   House (“ACH”) network that enabled him to misappropriate the plaintiffs’ funds. Id. Plaintiffs




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   brought RICO claims against the bank, arguing that it: (1) charged the lenders a fee for every

   transaction; (2) “knew that [the lender] was engaged in the business of illegal payday lending, and

   knew that payday loans were illegal and unenforceable” in a number of states; and (3) agreed to

   associate with the lender “for the purpose of using their respective roles in the ACH network to

   profit through the collection of these unlawful debts.” Id. at 1344-45. The court dismissed the

   RICO claims, finding that the plaintiffs’ allegations demonstrated only that the bank was “acting

   as bank processing electronic transactions or allowing access to the ACH network.” Id. at 1346.

   The court reasoned that the allegations established nothing more than that the bank “conduct[ed]

   its own business initiatives” and that “while creative, [the allegations] essentially attempt to recast

   a contractual relationship as a RICO enterprise.” Id. at 1347-48.

          Similarly, Plaintiffs here attempt to recast routine banking transactions as evidence of

   PNC’s participation in a RICO enterprise. See Parm, 242 F. Supp. 3d at 1348 (“The consensus

   among courts reflects the judgement that the statutory requirements of RICO cannot be

   circumvented by attempting to characterize a routine contractual relationship for services as an

   independent enterprise.”) (internal quotation marks omitted). Plaintiffs fail to specifically allege

   – as they must – that Ramirez or anyone else at PNC and the Walsh Defendants possessed a shared

   purpose and took specific steps in furtherance of the enterprise. Indeed, the notion that PNC

   knowingly joined a RICO enterprise is facially absurd. Thus, Plaintiffs’ RICO claims must fail.

          D.      Plaintiffs Do Not Plausibly Allege that PNC and Ramirez Entered Into a
                  Conspiracy.

          Finally, Plaintiffs assert that all Defendants are parties to a conspiracy. Plaintiffs allege

   that the Defendants agreed “and acted in concert to market at fraudulent investment scheme to

   Plaintiffs, steal their money, and then distribute and dissipate the money among themselves.” Am.

   Compl. ¶ 494. To further the conspiracy, Plaintiffs allege that the Defendants took “overt acts”



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   “with the full knowledge and awareness that the investment scheme was designed to fraudulently

   procure and steal Plaintiffs’ funds” and “commit the unlawful acts herein.” Id. ¶¶ 492, 495–96.

          To state a claim for civil conspiracy, a plaintiff must allege “(a) an agreement between two

   or more parties, (b) to do an unlawful act or to do a lawful act by unlawful means, (c) the doing of

   some overt act in pursuance of the conspiracy, and (d) damage to the plaintiff as a result of the acts

   done in the conspiracy.” Meridian Trust Co., 2018 U.S. Dist. LEXIS 166556, at *16-17 (quoting

   United Techs. Corp. v. Mazer, 556 F. 3d 1260, 1271 (11th Cir. 2009)). Conspiracy claims must

   specifically allege “the scope of the conspiracy, its participants, and when the agreement was

   entered into.” Julin v. Chiquita Brands Int’l, Inc. (In re Chiquita Brands Int’l, Inc.), 690 F. Supp.

   2d 1296, 1311 (S.D. Fla. 2010); see Fullman v. Graddick, 739 F.2d 553, 557 (11th Cir. 1984) (“A

   complaint must justifiably be dismissed because of the conclusory, vague and general nature of

   the allegations of conspiracy.”). Moreover, to establish a civil conspiracy, a plaintiff must show

   that the perpetrators had knowledge of the unlawful scheme forming the basis of the conspiracy.

   See Regions Bank v. Kaplan, 258 F. Supp. 3d 1275, 1299 (M.D. Fla. 2017) (finding no agreement

   to conspire when defendants had no knowledge of the Ponzi scheme). In addition, conspiracy

   claims sounding in fraud are subject to the particularity requirements of Rule 9(b). See also Am.

   United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1065 (11th Cir. 2007) (“[W]here a conspiracy

   claim alleges that two or more parties agreed to commit fraud, the plaintiff must also plead this act

   with specificity.”); Gilbert & Caddy, P.A. v. JP Morgan Chase Bank, N.A., No. 15-60653, 2015

   U.S. Dist. LEXIS 194142, *1, 13 (S.D. Fla. Aug. 19, 2015) (same).

          Here, as argued at length, Plaintiffs do not specifically and sufficiently allege the existence

   of any conspiratorial agreement required to satisfy Rule 9(b). The only references to an alleged

   agreement are, at best, vague and conclusory. See Am. Compl. ¶ 140 (Ramirez blandly stating to




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   Reitz at an unspecified date when the Account was opened that “if you need functionality of an

   escrow account, we can provide the escrow service modules with this type of business checking

   account.”); Id. ¶ 144 (referring vaguely to “Ramirez and PNC’s agreement with Walsh”); Id. ¶ 492

   (“[t]here was an agreement between the Defendants to do an unlawful act . . . ”); Id. ¶ 497 (“[t]here

   was a meeting of minds between and among Defendants”). Bare recitations of the elements of

   civil conspiracy, however, fall short of satisfying the threshold burden for stating a claim for civil

   conspiracy. The only other relevant allegation set forth in the Amended Complaint is that

   “Ramirez and PNC agreed to allow Walsh and SARC” to open a bank account. Id. ¶ 142. Notably,

   this allegation fails to include the requisite details – the who, what, where, when, and why – of this

   alleged agreement. See Twombly, 550 U.S. at 655 n. 10 (noting that a failure to allege the parties

   to an agreement, “or when and where the illicit agreement took place,” would leave defendant with

   insufficient notice of conspiracy claims).

          Moreover, even if Plaintiffs’ allegations met the particularity requirement – though they

   do not – they fail to allege that Ramirez, Ossaba or anyone else at PNC knowingly entered into any

   agreement to conspire. See Honig v. Kornfeld, 339 F. Supp. 3d 1323, 1347 (S.D. Fla. 2018)

   (emphasis added). Mere allegations that PNC employees were “unwittingly helping . . . perpetrate

   the scheme” would “fall[] far short of the necessary agreement to plead a civil conspiracy.” Id.

          The recent decision in Honig is applicable here. In Honig, victims of a Ponzi scheme

   brought civil conspiracy claims against sales agents used by the main perpetrators to solicit

   investments. Id. at 1333. The main perpetrators provided the sales agents with uniform, scripted

   information and sales materials that allegedly contained false information that the sales agents then

   provided to investors. Id. at 1346. In exchange, the perpetrators paid the sales agents and provided

   them with other incentives. Id. For establishing actual knowledge, the court found insufficient




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   the plaintiffs’ allegations that the sales agents “utilized the false and misleading [] sales script” and

   that they “knew or should have known” that the investments were fraudulent. Id. at 1344-45. The

   court likewise concluded that these allegations failed to establish that the sales agents knowingly

   agreed to do anything unlawful. Id. at 1346. The court reasoned that, besides conclusory

   allegations that the sales agents entered into an express or tacit agreement with the perpetrators,

   there were no factual allegations to show that the agents “knowingly entered into an agreement

   with [the perpetrators] to recommend and sell unregistered [] securities using the [] script.” Id.

           Here, as in Honig, Plaintiffs have failed to demonstrate that Ramirez and PNC actually

   knew about the underlying fraud. Therefore, Plaintiffs essentially seek to pile inference upon

   inference to establish – however tenuously – that Ramirez and PNC knowingly entered into an

   agreement to conspire to defraud Plaintiffs. The mere fact that PNC accounts were used to

   perpetrate the fraud, without PNC’s knowledge, falls far short of establishing a civil conspiracy.

   Accordingly, Plaintiffs’ claim for civil conspiracy should be dismissed.

   IV.     CONCLUSION

           For the foregoing reasons, PNC and Ramirez respectfully request this Court to GRANT

   their Motion to Dismiss the Amended Complaint. Further, and pursuant to Local Rule 7.1(b)(2),

   PNC hereby requests that the Court conduct oral argument on this Motion. Due to the complexities

   of issues involved herein, PNC believes oral argument will materially assist the Court.




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   Dated: December 10, 2019           Respectfully submitted,

                                      /s/ Nina Stillman Mandel
                                      Nina Stillman Mandel
                                      Fla. Bar No. 843016
                                      MANDEL & MANDEL LLP
                                      169 East Flagler Street, Suite 1224
                                      Miami, Florida 33131
                                      Telephone: 305.374.7771
                                      nsm@mandel.law

                                      /s/ Peter D. Hardy
                                      Peter D. Hardy (admitted pro hac vice)
                                      Aliza R. Karetnick (admitted pro hac vice)
                                      Mary K. Treanor (admitted pro hac vice)
                                      Mansi G. Shah (admitted pro hac vice)
                                      Nicholas A.R. Kato (admitted pro hac vice)
                                      BALLARD SPAHR LLP
                                      1735 Market Street, 51st Floor
                                      Philadelphia, PA 19103

                                      Counsel for PNC Bank, N.A. and Ruben Ramirez




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing document was filed via CM/ECF on this 10th

   day of December 2019, and was therefore served by electronic mail on all parties.



                                               /s/ Nina Stillman Mandel




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